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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

TRIBUNE COMPANY, et al.,' Case No. 08-13141 (KJC)

Debtors. (Jointly Administered)

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NOTICE OF APPLICATION

TO: Co-counsel to the Debtors; the Office of the United States Trustee for the District of
Delaware; John L. Decker, Esq., c/o Stuart Maue; Co-counsel to Barclays Bank PLC; and
Co-counsel to the Administrative Agent for the Prepetition Lenders.

Landis Rath & Cobb LLP, co-counsel to the Official Committee of Unsecured Creditors
in the above-captioned cases (the “Committee”), has filed the Twenty-first Monthly
Application of Landis Rath & Cobb LLP, Co-Counsel to the Official Committee of
Unsecured Creditors, for Compensation and Reimbursement of Expenses Pursuant to 11
U.S.C. §§ 330 and 331 (the “Application”). The Application seeks fees in the amount of
$209,508.50 and expenses in the amount of $5,013.77 for the period September 1, 2010 through
and including September 30, 2010.

Objections, if any, to the relief requested in the Application must be filed with the United
States Bankruptcy Court, 824 N. Market Street, 314 Floor, Wilmington, Delaware 19801, on or
before November 15, 2010 at 4:00 p.m. (ET).

' The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune Company (0355); 435 Production Company
(8865); 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); California Community News Corporation (5306); Candle Holdings Corporation (5626);
Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 40, Inc. (3844); Chicago Avenue Construction Company (8634); Chicago River Production Company (5434); Chicago
Tribune Company (3437); Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579), Chicagoland
Publishing Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail Associates, Inc. (6121); Distribution Systems of
America, Inc, (3811); Eagle New Media Investments, LLC (6661); Eagle Publishing Investments, LLC (6327); foresalebyowner.com corp. (0219); ForSale8yOwner.com Referral
Services, LLC (9205); Fortify Holdings Corporation (5628); Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505); GreenCo., Inc. (7416); Heart & Crown
Advertising, Inc, (9808); Homeowners Realty, Inc. (1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc. (2663), Internet
Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company II, LLC; KJAH Inc. (4014); KPLR, Inc. (7943); KSWB Inc. (7035); KTLA Inc. (3404);
KWGN Inc. (5347) Los Angeles Times Communications LLC (1324); Los Angeles Times International, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music
Publishing Company (6522); NBBF, LLC (0893); Neocomm, Inc. (7208); New Mass. Media, Inc. (9553); New River Center Maintenance Association, Inc. (5621); Newscom
Services, Inc. (4817); Newspapers Readers Agency, Inc. (7335); North Michigan Production Company (5466), North Orange Avenue Properties, Inc. (4056); Oak Brook
Productions, Inc. (2598); Orlando Sentinel Communications Company (3775); Patuxent Publishing Company (4223); Publishers Forest Products Co. of Washington (4750);
Sentine] Communications News Ventures, Inc. (2027); Shepard’s Inc. (7931); Signs of Distinction, Inc. (3603); Southern Connecticut Newspapers, Inc. (1455); Star Community
Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel Company (2684), The Baltimore Sun Company (6880); The Daily Press, Inc. (9368); The Hartford Courant
Company (3490); The Morning Call, Inc. (7560); The Other Company LLC (5337); Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company,
Inc. (4227), Times Mirror Services Company, Inc. (1326); TMLH2, Inc. (0720); TMLS I, Inc. (0719); TMS Entertainment Guides, Inc. (6325), Tower Distribution Company
(9066), Towering T Music Publishing Company (2470), Tribune Broadcast Holdings, Inc. (4438), Tribune Broadcasting Company (2569); Tribune Broadcasting Holdco, LLC
(2534); Tribune Broadcasting News Network, Inc. (1088); Tribune California Properties, Inc. (1629); Tribune Direct Marketing, Inc. (1479); Tribune Entertainment Company
(6232); Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537); Tribune Finance Service Center, Inc. (7844); Tribune License, Inc. (1035); Tribune
Los Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279); Tribune Media Net, Inc. (7847); Tribune Media Services, Inc. (1080); Tribune Network Holdings
Company (9936); Tribune New York Newspaper Holdings, LLC (7278); Tribune NM, Inc. (9939); Tribune Publishing Company (9720); Tribune Television Company (1634);
Tribune Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975); ValuMail, Inc. (9512); Virginia Community
Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587), WATL, LLC (7384); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300), WGN Continental Broadcasting
Company (9530); WLVI Inc. (8074); WPIX, Inc. (0191); and WTXX Inc. (1268). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North
Michigan Avenue, Chicago, Illinois 60611.

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At the same time, you must also serve a copy of the objection upon the following parties
so as to be received no later than 4:00 p.m. (ET) on November 15, 2010:

(i) Co-counsel to the Debtors: Sidley Austin LLP, One South Dearborn, Chicago, IL
60603 (Attn: Kenneth P. Kansa, Esq.) and Cole, Schotz, Meisel, Forman & Leonard,
P.A., 500 Delaware Avenue, Suite 1410, Wilmington, DE 19801 (Attn: J. Kate Stickles,
Esq.); (ii) the Office of the United States Trustee, 844 N. King Street, Room 2207,
Lockbox 35, Wilmington, Delaware 19801 (Attn: Joseph J. McMahon, Jr., Esq.); (iii)
John L. Decker, Esq. c/o Stuart Maue, 3840 McKelvey Road, St. Louis, MO 63044; (iv)
co-counsel to the Barclays Bank PLC, in its capacity as Lender, Funding Agent, and
Administrative Agent: Edwards Angell Palmer & Dodge LLP, 919 N. Market Street,
Suite 1500, Wilmington, DE 19801 (Attn: Stuart M. Brown, Esq.) and Mayer Brown
LLP, 1675 Broadway, New York, NY 10019 (Attn: Frederick D. Hyman, Esq.); (v) co-
counsel to the Administrative Agent for the Prepetition Lenders: Richards, Layton &
Finger, P.A., 920 North King Street, Wilmington, DE 19801 (Attn: Mark D. Collins,
Esq.) and Davis Polk & Wardwell, 450 Lexington Avenue, New York, NY 10017 (Attn:
Donald S. Bernstein, Esq.); and (vi) co-counsel to the Official Committee of Unsecured
Creditors: Landis Rath & Cobb LLP, 919 Market Street, Suite 1800, Wilmington,
Delaware 19801 (Attn: Adam G. Landis, Esq.) and Chadbourne & Parke LLP, 30
Rockefeller Plaza, New York, NY 10112 (Attn: David M. LeMay, Esq.).

PLEASE TAKE FURTHER NOTICE THAT PURSUANT TO THE ORDER
ESTABLISHING ~| PROCEDURES FOR INTERIM COMPENSATION AND
REIMBURSEMENT OF EXPENSES FOR CHAPTER 11 PROFESSIONALS AND
COMMITTEE MEMBERS, IF NO OBJECTIONS ARE FILED AND SERVED IN
ACCORDANCE WITH THE ABOVE PROCEDURE, THE DEBTORS WILL BE
AUTHORIZED TO PAY 80% OF REQUESTED FEES AND 100% OF REQUESTED
EXPENSES WITHOUT FURTHER COURT ORDER. ONLY IF AN OBJECTION IS
PROPERLY AND TIMELY FILED IN ACCORDANCE WITH THE ABOVE PROCEDURE,
WILL A HEARING BE HELD ON THE APPLICATION.

Dated: October 25, 2010 LANDIS RATH & COBB LLP

Wilmington, Delaware . tir Z
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Adam G. Landis (No. 3407)
Matthew B. McGuire (No. 4366)
Kimberly A. Brown (No. 5138)
919 Market Street, Suite 1800
Wilmington, Delaware 19801,
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Co-Counsel to the Official
Committee of Unsecured Creditors

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